
739 N.W.2d 623 (2007)
Thomas D. MAYS, Personal Representative of the Estate of Donna J. Mays, Plaintiff-Appellee,
v.
MICHIGAN HEART, P.C., Bruce Genovese, M.D., Timothy Shinn, M.D., and Mansoor A. Qureshi, M.D., Defendants-Appellees, and
St. Joseph Mercy Hospital, St. Joseph Mercy Health System, and Mary L. Bennett, R.N., Defendants-Appellants.
Docket No. 131368. COA No. 261734.
Supreme Court of Michigan.
October 17, 2007.
By order of September 26, 2006, the application for leave to appeal the April 25, 2006 judgment of the Court of Appeals was held in abeyance pending the decision in Washington v. Sinai Hospital of Greater Detroit (Docket No. 130641). On order of the Court, the case having been decided on June 27, 2007, 478 Mich. 412, 733 N.W.2d 755 (2007), the application is again considered and, it appearing to this Court *624 that the case of Braverman v. Garden City Hospital (Docket Nos. 134445-134446) is pending on appeal before this Court and that the decision in that case may resolve an issue raised in the present application for leave to appeal, we ORDER that the application be held in ABEYANCE pending the decision in that case.
